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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 SECURITIES AND EXCHANGE
 COMMISSION,
 1617 JFK Boulevard, Suite 520
 Philadelphia, PA 19103,
                                                           Civil Action No. 23-cv-2451
                               Plaintiff,

                        v.

 ROMERO CABRAL DA COSTA NETO,
 1750 P. Street NW, Apt. 601
 Washington, DC 20036,

                               Defendant.


                                            COMPLAINT

       Plaintiff Securities and Exchange Commission (the “Commission”) files this Complaint

against Defendant Romero Cabral da Costa Neto, a/k/a “Romero Costa” or “Romero Neto”

(“Costa”), and alleges as follows:

                                            SUMMARY

       1.       This action alleges insider trading by Costa based on material nonpublic

information he obtained while employed at an international law firm with an office in

Washington, D.C. (the “Law Firm”). Costa was employed by the Law Firm beginning on

September 6, 2022, for a period of approximately one-year as a visiting international attorney

from Brazil.

       2.       Beginning in or around May 2023, on multiple occasions, Costa abused his

position at the Law Firm by accessing and viewing material nonpublic information on the Law

Firm’s document management system relating to impending transactions involving a Law Firm
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client. Costa then traded on the basis of the material nonpublic information he learned,

generating over $42,000 in illicit profits.

       3.      Specifically, in or around March 2023, two biopharmaceutical companies—CTI

BioPharma Corp. (“CTI”) and Swedish Orphan Biovitrum AB (“Sobi”)—began nonpublic

discussions regarding a potential merger. The Law Firm represented CTI in those discussions.

Negotiations over the transaction occurred over the next few months, culminating in the two

companies signing a merger agreement on May 10, 2023, through which Sobi agreed to acquire

CTI. The acquisition was publicly announced that day, causing the price of CTI’s stock to

increase by more than 80 percent.

       4.      The day before the public announcement, on May 9, 2023, Costa purchased

10,400 shares of CTI. The day of the announcement, following the news of the acquisition,

Costa sold his CTI shares and realized profits of over $42,000. While working at the Law Firm,

Costa repeatedly accessed documents on the Law Firm’s internal document management system

containing material nonpublic information regarding the acquisition prior to the public

announcement and before his CTI trades. Costa’s conduct breached a duty to the Law Firm and

its client, and violated the Law Firm’s policies, including its policy against insider trading.

       5.      Costa also traded in the securities of several other Law Firm clients close in time

to material announcements relating to those entities.

       6.      By engaging in the conduct described in this Complaint, Costa violated, and

unless enjoined will continue to violate, Section 10(b) of the Securities Exchange Act of 1934

(the “Exchange Act”) [15 U.S.C. § 78j(b)], and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

                                 JURISDICTION AND VENUE

       7.      The Commission brings this action pursuant to Sections 21(d), 21(e), and 21A of

the Exchange Act [15 U.S.C. §§ 78u(d)–(e), 78u-1] seeking a final judgment that permanently
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enjoins Costa from engaging in the transactions, acts, practices, and courses of business alleged

in this Complaint and orders disgorgement, prejudgment interest, civil monetary penalties, and

such other and further relief the Court may deem just and appropriate.

       8.      The Court has jurisdiction pursuant to Sections 21(d), 21(e), 21A, and 27 of the

Exchange Act [15 U.S.C. §§ 78u(d), 78(u)(e), 78u-1, and 78aa].

       9.      Defendant, directly and indirectly, has made use of the means or instrumentalities

of interstate commerce or of the mails in connection with the transactions, acts, practices, and

courses of business alleged herein.

       10.     Venue is proper pursuant to Section 27 of the Exchange Act [15 U.S.C. § 78aa],

because certain of the acts, practices, and courses of business constituting the alleged violations

occurred within the District of Columbia. During the time period of the wrongful conduct

alleged herein, Costa worked for the Law Firm in the District.

                                          DEFENDANT

       11.     Costa, age 33, is a citizen of Brazil and present in the United States pursuant to a

temporary work visa. During the relevant time period, Costa resided in Washington, D.C. and

was employed by the Washington, D.C. office of the Law Firm under a one-year contract that

began on or about September 6, 2022.

                                      RELEVANT ENTITIES

       12.     The Law Firm is an international law firm with 20 offices around the world,

including in Washington, D.C.

       13.     CTI was a company involved in the acquisition, development and

commercialization of therapies for blood-related cancers. CTI was incorporated in Delaware,

with its principal place of business in Seattle, Washington. CTI’s common stock was traded on



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the NASDAQ under the ticker “CTIC.” CTI was acquired by Sobi on or about June 26, 2023,

and is now a wholly owned subsidiary of Sobi.

       14.     Sobi is an international biopharmaceutical company headquartered in Stockholm,

Sweden. Sobi’s common stock trades on the NASDAQ Stockholm under the ticker “SOBI.” As

noted, Sobi acquired CTI on or about June 26, 2023.

                                             FACTS

       A. Costa’s Employment with the Law Firm

       15.     Costa began working for the Law Firm on or about September 6, 2022. As a non-

U.S. Citizen, Costa was hired as a “Visiting Attorney” from Brazil, and the Law Firm sponsored

his temporary work visa, allowing him to reside and work in the United States during the time

period of his employment. Costa’s term of employment with the Law Firm was for

approximately one year.

       16.     Upon beginning employment with the Law Firm, Costa was subject to the Law

Firm’s policy prohibiting insider trading by firm personnel (the “Insider Trading Policy”), and its

confidentiality policy.

       17.     The Insider Trading Policy required all firm personnel to “maintain the

confidence of all confidential information relating to or obtained from a [Law Firm] client or

Firm representation” and prohibited employees “from discussing client confidential matters with

persons outside the [Law Firm] (including family members) and from using confidential

information for their own personal purposes or benefit.” Importantly, the Insider Trading Policy

required all Law Firm employees to “refrain from the purchase and sale of the securities of any

issuer at a time when they are aware of any material nonpublic information about the securities

of the issuer” and expressly defined material nonpublic information to include, among other

things, information about “a proposed tender offer, exchange offer, merger or acquisition.”
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       18.     In addition to the Insider Trading Policy, the Law Firm’s separate, albeit related,

confidentiality policy required employees to safeguard confidential information relating to firm

clients and to not use that information for personal purposes or gain.

       19.     Costa signed and acknowledged that he received, read, understood and agreed to

comply with the Law Firm’s Insider Trading Policy and the confidentiality policy, as well as

other firm policies.

       20.     Shortly after Costa began his employment with the Law Firm, on or about

September 22, 2022, Costa opened a brokerage account with a U.S.-based brokerage firm

(“Brokerage Firm A”).

       21.     On or about October 21, 2022, Costa opened a separate brokerage account with

another U.S.-based brokerage firm (“Brokerage Firm B”).

       B. Costa Learns That CTI Was Exploring A Strategic Transaction With Sobi

       22.     In or around early April 2023, CTI began exploring a strategic transaction with

Sobi, and Sobi made a non-binding proposal to acquire all of CTI’s fully diluted common stock.

The Law Firm was one of CTI’s outside legal advisers during these negotiations, which

remained confidential.

       23.     On May 8 and 9, 2023, Costa accessed the Law Firm’s document management

system and obtained material nonpublic information about CTI’s impending merger with Sobi.

Specifically, Costa accessed and viewed draft SEC filings, board minutes, and other documents

relating to the transaction. The Law Firm’s access logs show that Costa viewed as many as

twenty-five unique documents relating to the CTI/Sobi transaction over 100 times in the week

leading up to the public announcement.




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        24.     Costa had no apparent business purpose to access the documents relating to the

CTI/Sobi transaction.

        25.     On May 9, 2023, Sobi and CTI agreed to the final terms of the acquisition,

including pricing details; the following day—May 10, 2023—they signed a merger agreement

and publicly announced the acquisition. CTI’s stock price increased following the news.

        26.     Sobi completed its acquisition of CTI on or about June 26, 2023.

        C. Costa’s Trades in CTI Stock

        27.     On May 9, 2023, the day before Sobi’s acquisition of CTI was announced

publicly and while in possession of material nonpublic information that Costa misappropriated

from the Law Firm about the impending merger, Costa purchased 10,400 shares of CTI through

his brokerage accounts with Brokerage Firms A and B. Upon information and belief, Costa had

not previously invested in CTI or Sobi.

        28.     After the public announcement of the acquisition the following day, CTI’s stock

price rose over 80 percent from $4.82 at market close on May 9, 2023, to $8.93 at market close

on May 10, 2023. Costa sold all of his shares the day of the announcement, realizing over

$42,000 in illicit profits.

        D. Costa Accesses and Trades on Nonpublic Information Acquired from the Law
           Firm Relating to Other Law Firm Clients

        29.      In addition, Costa accessed other material nonpublic information from the Law

Firm’s document management system concerning other companies, including Law Firm clients,

for which he had no apparent business purpose.

        30.     Costa engaged in trading activity in advance of public announcements relating to

those companies.




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       E. Costa Violated the Federal Securities Laws

       31.      At all relevant times, Costa owed a duty to not use the confidential information of

the Law Firm and its clients for his own benefit, including by trading on the basis of such

information.

       32.      The information about the CTI/Sobi merger transaction described above was

confidential and nonpublic. The Law Firm established policies and procedures designed to

protect such information and to prohibit its employees from trading on such information.

       33.      The information about the CTI/Sobi merger transaction was material. A

reasonable investor would have viewed information relating to the merger and acquisition

transaction as being important to his or her investment decisions and/or significantly altering the

total mix of information available to the public.

       34.      Costa knew, or was reckless in not knowing, that the information he obtained

about the CTI/Sobi transaction was material nonpublic information.

       35.      Costa knew, or was reckless in not knowing, that he had a duty not to trade on the

basis of the material nonpublic information about the CTI/Sobi transaction that he learned during

his employment.

       36.      In breach of his duty, Costa traded on the basis of material nonpublic information

about the CTI/Sobi transaction that he learned during his employment.

       37.      Costa, directly or indirectly, made use of the means and instrumentalities of

interstate commerce or of the mails in connection with the acts, transactions, practices, and

courses of business alleged in this Complaint.




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                                      CLAIM FOR RELIEF

         Violation of Section 10(b) of the Exchange Act and Rule 10b-5 Thereunder

       38.     The Commission re-alleges and incorporates by reference the allegations in the

preceding paragraphs, as if fully set forth herein.

       39.     By engaging in the conduct described above, Costa, directly or indirectly, in

connection with the purchase or sale of securities, and by use of means or instrumentalities of

interstate commerce, or the mails, or the facilities of a national securities exchange, has,

knowingly or recklessly:

               a.      employed a device, scheme, or artifice to defraud;

               b.      made an untrue statement of material fact or omitted to state material facts

                       necessary in order to make the statements made, in the light of the

                       circumstances under which they were made, not misleading; and/or

               c.      engaged in an act, practice, or course of business which operated or would

                       operate as a fraud or deceit upon any person.

       40.     By reason of the foregoing, Costa has violated and, unless enjoined, will continue

to violate, Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule 10b-5 thereunder

[17 C.F.R. § 240.10b-5].

                                     PRAYER FOR RELIEF

       WHEREFORE, the Commission respectfully requests that the Court enter a Final

Judgment:

                                                  I.

       Permanently restraining and enjoining Costa from directly or indirectly engaging in

conduct in violation of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5];
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                                                II.

       Ordering Costa to disgorge his ill-gotten gains and pay prejudgment interest thereon;

                                               III.

       Ordering Costa to pay a civil penalty pursuant to Section 21A of the Exchange Act [15

U.S.C. § 78u-1]; and

                                               IV.

       Granting such other and further relief as this Court may deem just, equitable, or necessary

in connection with the enforcement of the federal securities laws.



 Dated:         August 23, 2023                     Respectfully submitted,


                                                    /s/ Gregory R. Bockin
                                                    Nicholas P. Grippo
                                                    Scott A. Thompson (DC Bar No. 476604)
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